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                    Exhibit A – Order
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 -----------------------------------------------------------X
                                                            :     Chapter 11
In re                                                       :
                                                            :     Case No. 09-10138 (KG)
Nortel Networks Inc., et al.,1                              :
                                                            :     Jointly Administered
                                    Debtors.                :
                                                            :     Re: D.I. ____
                                                            :
 -----------------------------------------------------------X

                                ORDER APPOINTING MEDIATOR

                 This matter having come before the Court and the Court having reviewed the

Certification of Counsel Regarding Appointment of Mediator and sufficient cause appearing for

the relief requested therein, it is hereby ORDERED as follows:

                 1.       The Hon. John Gibbons is appointed as mediator for mediation focusing

on an agreement that would permit the sale of Nortel Government Solutions Inc. and

DiamondWare Ltd. shares to Avaya, Inc., free and clear of the IRS Claim without prejudice to

other rights and defenses; and




1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification
        number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel
        Altsystems, Inc. (9769), Nortel Altsystems International, Inc. (5596), Xros, Inc. (4181), Sonoma Systems
        (2073), Qtera Corporation (0251), CoreTek, Inc. (5722), Nortel Networks Applications Management
        Solutions Inc. (2846), Nortel Networks Optical Components Inc. (3545), Nortel Networks HPOCS Inc.
        (3546), Architel Systems (U.S.) Corporation (3826), Nortel Networks International Inc. (0358), Northern
        Telecom International Inc. (6286), Nortel Networks Cable Solutions Inc. (0567) and Nortel Networks
        (CALA) Inc. (4226). Addresses for the Debtors can be found in the Debtors’ petitions, which are available
        at http://chapter11.epiqsystems.com/nortel.
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              2.     The Court shall retain jurisdiction to hear and determine all matters arising

from the implementation of this Order.


Dated: ____________, 2009
       Wilmington, Delaware                     _____________________________________
                                                THE HONORABLE KEVIN GROSS
                                                UNITED STATES BANKRUPTCY JUDGE




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